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 6
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 7
     Attorneys for Defendant
 8
     YALE UNIVERSITY
 9
10                           UNITED STATES DISTRICT COURT
11          CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
12
13
14 John Doe,                               Case No.
15
16              Plaintiff,                  NOTICE OF REMOVAL OF ACTION
17                                          PURSUANT TO 28 U.S.C. §§ 1331,
           vs.
                                            1332, 1367 AND 1441 (FEDERAL
18                                          QUESTION, SUPPLEMENTAL, AND
19   Yale University, by and though the     DIVERSITY JURISDICTION);
     President and Fellows of Yale          DECLARATIONS OFALEXANDER E.
20   College; and Does 1 to 100, inclusive, DREIER AND KAREN J. PAZZANI
21
22              Defendants.
23
24
25
26
27
28
        NOTICE OF REMOVAL OF ACTION (FEDERAL QUESTION, SUPPLEMENTAL, AND DIVERSITY
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 1         TO THE CLERK OF THE ABOVE-ENTITLED COURT AND TO
 2   PLAINTIFF JOHN DOE AND HIS ATTORNEYS OF RECORD GARY
 3   KURTZ, ESQ. AND THE LAW OFFICE OF GARY KURTZ:
 4
 5         PLEASE TAKE NOTICE that Defendant YALE UNIVERSITY
 6   (“Defendant”), hereby removes the above-entitled action from the Superior Court of
 7   the State of California, for the County of Los Angeles, to the United States District
 8   Court for the Central District of California, Western Division, based on federal
 9   question jurisdiction, supplemental jurisdiction, and diversity jurisdiction pursuant
10   to 28 U.S.C. §§ 1331, 1332, 1367, and 1441. The factors that entitle Defendant to
11   remove this action are as follows:
12
13                            I.     STATE COURT ACTION
14         1.      On April 24, 2015, Plaintiff JOHN DOE (“Plaintiff”) filed a complaint
15   against Defendant in the Superior Court of the State of California, County of Los
16   Angeles, entitled John Doe vs. Yale University, by and through the President and
17   Fellows of Yale College; and Does 1 to 100, inclusive, (the “Action”) which was
18   designated as Case No. BC579833. The Complaint alleges five causes of action: (1)
19   Violation of Title IX of the Education Amendments of 1972, 20 U.S.C. §1681, et
20   seq.; (2) Violation of Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d, et
21   seq.; (3) Breach of Contract; (4) Promissory Estoppel; and (5) Negligence. (A true
22   and correct copy of the Complaint is attached as Exhibit A to the Declaration of
23   Karen J. Pazzani (“Pazzani Decl.”).)
24
25           II.    TIMELY REMOVAL OF STATE COURT COMPLAINT
26         2.      On August 17, 2015, the Complaint, Summons, Civil Case Cover
27   Sheet, Civil Case Cover Sheet Addendum And Statement of Location, Notice of
28   Case Assignment, and information regarding Los Angeles Superior Court’s
                                              1
         NOTICE OF REMOVAL OF ACTION (FEDERAL QUESTION, SUPPLEMENTAL, AND DIVERSITY
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 1   voluntary efficient litigation stipulations were sent to Defendant in New Haven,
 2   Connecticut by first-class mail. (True and correct copies of said documents, in the
 3   form received by Defendant, along with the post-marked envelope that Yale
 4   received, are attached as Exhibits A through G to the Pazzani Decl.) Pursuant to
 5   California Code of Civil Procedure section 415.40, service was deemed complete on
 6   August 27, 2015, the 10th day after such mailing. This was the first date on which
 7   Defendant was served with any of the pleadings in this Action.
 8
 9         3.     On or about September 4, 2015, Plaintiff also mailed Yale a Notice of
10   Case Management Conference, Proof of Service of Summons, Case Management
11   Statement, and Declaration of Gary Kurtz Regarding Order to Show Causes Re
12   Service of Process and Failure to File Case Management Conference Statement.
13   (True and correct copies of said documents are attached as Exhibits H-K to the
14   Pazzani Decl.)
15
16         4.     Exhibits A through L to the Pazzani Decl. encompass all process,
17   pleadings, and orders served on or by Defendant in the Action. In addition to the
18   documents that were served on or by Defendant in the Action, the docket in the
19   Action reflects that the Los Angeles Superior Court issued a Notice of Case
20   Management Conference dated April 29, 2015 and a Minute Order re OSC re Proof
21   of Service dated August 18, 2015. Defendant was not served with these documents
22   but obtained copies of them through the Los Angeles Superior Court website and
23   true and correct copies are attached to the Pazzani Decl. as Exhibits M and N.
24
25         5.     This Notice of Removal is being filed within thirty (30) days of the date
26   Defendant first ascertained that the Action is removable, i.e., the date service on
27   Defendant became complete, and within one (1) year after the Action was filed and,
28   therefore, is timely filed pursuant to 28 U.S.C. § 1446(b).
                                              2
         NOTICE OF REMOVAL OF ACTION (FEDERAL QUESTION, SUPPLEMENTAL, AND DIVERSITY
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 1      III.     FEDERAL QUESTION AND SUPPLEMENTAL JURISDICTION
 2          6.      The Complaint and each alleged cause of action contained therein may
 3   be removed under 28 U.S.C. §§ 1331, 1367, and 1441(a) and (c) as follows:
 4
 5                  a.    Pursuant to 28 U.S.C. § 1441(a), any civil action over which the
 6   district courts of the United States have original jurisdiction may be removed from
 7   state to federal court.
 8
 9                  b.    Pursuant to 28 U.S.C. § 1331, the district courts of the United
10   States have original jurisdiction over any civil action presenting a question of
11   federal law.
12
13                  c.    The district courts of the United States have original jurisdiction
14   over Plaintiff’s first cause of action, which purports to state a claim under Title IX
15   of the Education Amendments of 1972, 20 U.S.C. § 1681 et seq. based on
16   Defendant’s alleged wrongful conduct in connection with Plaintiff’s expulsion,
17   because it presents a question of federal law. See, e.g., Varnell v. Dora Consol.
18   School Dist., 756 F.3d 1208, 1217 (10th Cir. 2014) (stating “the district court had
19   federal-question jurisdiction under 28 U.S.C. § 1331 over the … Title IX claims.”)
20
21                  d.    The district courts of the United States also have original
22   jurisdiction over Plaintiff’s second cause of action, which purports to state a claim
23   under Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d, et seq. based on
24   Defendant’s alleged wrongful conduct in connection with Plaintiff’s expulsion,
25   because it presents a question of federal law. See, e.g., Thomas v. Advance Housing,
26   Inc., 440 Fed.Appx. 86 (3rd Cir. 2011) (holding the district courts have jurisdiction
27   over claims arising under Title VI of the Civil Rights Act).
28
                                              3
         NOTICE OF REMOVAL OF ACTION (FEDERAL QUESTION, SUPPLEMENTAL, AND DIVERSITY
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 1                 e.    The district courts of the United States have supplemental
 2   jurisdiction over Plaintiff’s remaining state law claims pursuant to 28 U.S.C. § 1367,
 3   and jurisdiction over any separate and independent claims as provided in 28 U.S.C.
 4   § 1441(c). More specifically, all of Plaintiff’s claims are “part of the same case or
 5   controversy” in that they are all predicated upon Defendant’s alleged wrongful
 6   conduct in connection with Plaintiff’s expulsion.
 7
 8                 f.    Accordingly, the district courts of the United States have
 9   jurisdiction over this entire Action.
10
11                           IV.   DIVERSITY JURISDICTION
12         7.     The district courts of the United States also have original jurisdiction
13   over this Action under 28 U.S.C. § 1332 based on diversity of citizenship
14   jurisdiction. The Action is properly removable because it is a civil action between
15   citizens of different states in which the amount in controversy exceeds the sum of
16   $75,000, exclusive of interest and costs, as set forth below.
17
18                 a.    Defendant is informed and believes, and thereon alleges, that as
19   of April 24, 2015, when the Complaint was filed, and now, Plaintiff was a citizen
20   and resident of the State of California. The Complaint states that Plaintiff resides in
21   California. (Pazzani Decl., Ex. A, ¶ 1.)
22
23                 b.    At the time the Complaint was filed and now, Defendant Yale
24   University was and is a corporation specially chartered by the General Assembly of
25   the Colony and State of Connecticut with its principal place of business in New
26   Haven, Connecticut. (Declaration of Alexander E. Dreier, ¶ 2.) For purposes of
27   diversity jurisdiction, the citizenship of a corporation is both the state in which the
28   corporation is incorporated and the state where it has its principal place of business.
                                              4
         NOTICE OF REMOVAL OF ACTION (FEDERAL QUESTION, SUPPLEMENTAL, AND DIVERSITY
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 1   See Co-Efficient Energy Systems v. CSL Industries, Inc., 812 F.2d 556, 559-560 (9th
 2   Cir. 1987). Thus, because Defendant was and is incorporated in Connecticut and its
 3   principal place of business was and is in Connecticut, Defendant is a citizen of
 4   Connecticut.
 5
 6                  c.   The presence of unidentified Doe defendants in this case has no
 7   bearing on diversity with respect to removal. 28 U.S.C. § 1441(a) (“For purposes of
 8   removal under this chapter, the citizenship of defendants sued under fictitious names
 9   shall be disregarded.”); Fristoe v. Reynolds Metal Co., 615 F.2d 1209, 1213 (9th
10   Cir. 2003) (the citizenship of “doe” defendants is irrelevant to the determination of
11   whether removal is proper). Thus, complete diversity of citizenship exists because
12   the operative parties, Plaintiff and Defendant, are citizens of different states.
13
14                  d.   The amount in controversy between the parties exceeds the
15   minimum sum of $75,000, exclusive of interest and costs. In this lawsuit, Plaintiff
16   is seeking special and compensatory damages. (Pazzani Decl., Ex. A, Prayer for
17   Relief.) With respect to his damages, he alleges that as a result of Defendant’s
18   alleged wrongful conduct, he lost, among other things, “all moneys he has paid to
19   obtain a Yale degree (including, but not limited to, tuition, living expenses, books,
20   transportation costs).” (Pazzani Decl., Ex. A, ¶¶ 177(c), 186(c), 192(c), 199(c),
21   204(c).) He further alleges that his “partial education at Yale University has cost in
22   excess of $100,000.” (Pazzani Decl., Ex. A, ¶¶ 10.) It is apparent from these
23   allegations that the amount in controversy exceeds $75,000.
24
25                  e.   Accordingly, the district courts of the United States have
26   jurisdiction over this entire Action.
27
28
                                              5
         NOTICE OF REMOVAL OF ACTION (FEDERAL QUESTION, SUPPLEMENTAL, AND DIVERSITY
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 1                 V.   NOTICE TO PLAINTIFF AND SUPERIOR COURT
 2         8.       This Notice of Removal has been given to both the adverse party and to
 3   the state court pursuant to 28 U.S.C. § 1446(d). (Exhibit L to the Pazzani Decl.)
 4
 5                                        VI.    JOINDER
 6         9.       The presence of unidentified “Doe” defendants in this case has no
 7   bearing on this Notice of Removal as said defendants need not join in this Notice.
 8   Fristoe v. Reynolds Metal. Co., 615 F.2d 1209, 1213 (9th Cir. 2003) (presence of
 9   unidentified “doe” defendants is irrelevant to the determination of whether removal
10   is proper).
11
12                                         VII. VENUE
13         10.      Venue is proper in this Court as this is the court for the district and
14   division embracing the place where the action is pending in state court. See 28
15   U.S.C. §§ 84(c)(2) and 1441(a). However, Defendant reserves the right to challenge
16   venue in this Court on the grounds that it is not a convenient forum under 28 U.S.C.
17   § 1404(a).
18
19         WHEREFORE, Defendant gives notice that the above action, which was
20   pending in the Superior Court of the State of California, County of Los Angeles, is
21   removed to this Court
22
     DATED: September 16, 2015                  JULIE ARIAS YOUNG
23
                                                KAREN J. PAZZANI
24                                              YOUNG, ZINN & BATE LLP
25
                                                By:     /s/ Karen J. Pazzani
26                                                    KAREN J. PAZZANI
                                                      Attorneys for Defendant
27
                                                      YALE UNIVERSITY
28
                                              6
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 1                      DECLARATION OF KAREN J. PAZZANI
 2
 3         I, KAREN J. PAZZANI, declare as follows:
 4
 5         1.     I am an associate at the law firm of Young, Zinn & Bate LLP, counsel
 6   of record for Defendant YALE UNIVERSITY (“Yale” or “Defendant”), and am one
 7   of the attorneys responsible for the defense of this action. I have personal
 8   knowledge of the facts set forth in this Declaration, and if called to testify under
 9   oath, could and would testify competently thereto.
10
11         2.     On April 24, 2015, Plaintiff JOHN DOE (“Plaintiff”) filed an
12   unverified Complaint in the Superior Court of the State of California, for the County
13   of Los Angeles, designated as Case No. BC579833 (the “Action”). A true and
14   correct copy of said Complaint, in the form received by Defendant, is attached
15   hereto as Exhibit A and incorporated herein by this reference.
16
17         3.     On August 17, 2015, the Complaint, Summons, Civil Case Cover
18   Sheet, Civil Case Cover Sheet Addendum And Statement of Location, Notice of
19   Case Assignment, and information regarding Los Angeles Superior Court’s
20   voluntary efficient litigation stipulations were sent to Defendant in New Haven,
21   Connecticut by first-class mail. This is the first date on which Defendant was
22   served with any of the pleadings in the Action. True and correct copies of said
23   documents, in the form received by Defendant, along with a copy the post-marked
24   envelope that Yale received, are attached hereto as Exhibits A – G and incorporated
25   herein by this reference.
26
           4.     On or about September 4, 2015, Plaintiff mailed Yale a Notice of Case
27
     Management Conference, Proof of Service of Summons, Case Management
28
                                              8
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              JURISDICTION); DECLARATIONS OF ALEXANDER E. DREIER AND KAREN J. PAZZANI
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